          Case 1:16-cv-04092-CAP Document 70 Filed 10/26/17 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA                      OCT 2 6 2017
                              ATLANTA DIVISION


AGL SERVICES COMPANY,

             Plaintiff,                          CIVIL ACTION NO.

     V.                                          1:16-CV-4092-CAP

MISTRAS GROUP, INC.,

             Defendant.


                              VERDICT FORM


     On the plaintiffs claim for breach of contract, we find:


       j For the plaintiff, AGL Service Company and against the
     defendant, Mistras Group, Inc., and award damages in the amount of




     OR


     __     For the defendant, l\!Iistras Group, Inc., and against the plaintiff,


     AGL Service Company.


     If you found in favor of the plaintiff above, proceed to the next question.


If you found for the defendant above, skip the next question.
         Case 1:16-cv-04092-CAP Document 70 Filed 10/26/17 Page 2 of 2




      On the plaintiffs claim that the defendant was stubbornly litigious


and/or caused unnecessary trouble and expense, we find:


             For the plaintiff,      AGL       Service   Company,   and against   the


defendant, Mistras Group, Inc; and the plaintiff, AGL Service Company, is


entitled to recover its expenses of litigation against the defendant, iVlistras


Group, Inc. in the amount of$   _______




      OR


       j    For the defendant, Mistras Group, Inc., and against the plaintiff,


AGL Service Company.




      SO SAY WE ALL, this    ;)_(;   day of October, 2017.




                                                           �



                                           2
